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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

RAYMOND E. JONES, deceased, by
                                                        Case No. 1:09-cv-392
YVETTE JONES, personal representative
                                                        Hon. Paul L. Maloney
of the Estate of Raymond Jones, Deceased,

              Plaintiffs,
vs.

CORRECTIONAL MEDICAL SERVICES, INC.,
a Foreign Corporation, et al.,

              Defendants.

 Kenneth Finegood (P36170)                          Brian J. Richtarcik (P49390)
 Kenneth D. Finegood, P.L.C.                        Randall A. Juip (P58538)
 Attorney for Plaintiff                             Mark G. Reynolds (P72127)
 29566 Northwestern Highway, Suite 120              Foley, Baron Metzger & Juip, PLLC
 Southfield, Michigan 48034                         Attorneys for Defendant,
 (248) 351-0608                                     Badawi Abdellatif, M.D., only
                                                    38777 Six Mile Rd., Suite 300,
                                                    Livonia, MI 48152
                                                    (734)742-1800

 James T. Farrell (P35400)
 State of Michigan Attorney General
 Attorney for MDOC Defendants
 Corrections Division
 P.O. Box 30217
 Lansing, Michigan 48909
 (517) 335-7021

                       ORDER DISMISSING DEFENDANT,
                   BADAWI ABDELLATIF, M.D., WITH PREJUDICE.

       Pursuant to stipulation of the parties on the record in this court on January 28, 2013 at the

time scheduled for trial of this matter, defendant Badawi Abdellatif, M.D. shall be dismissed

from the present action with prejudice, without costs being imposed on any party, and without

the payment of any money.




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         IT IS SO ORDERED.



         Date: _________________, 2013                          _______________________________
                                                                Paul L. Maloney
                                                                Chief United States District Judge



         Stipulated as to form and substance,


         /s/Kenneth Finegood with consent                       /s/Brian J. Richtarcik
         Kenneth Finegood (P36170)                              Brian J. Richtarcik (P49390)
         Attorney for Plaintiff                                 Attorney for Defendant, Badawi Abdellatif,
                                                                M.D., only.




                                              PROOF OF SERVICE
I hereby certify that on April 17, 2013, I presented the foregoing paper to the Clerk of the Court for filing and
uploading to the ECF system, which will send notification of such filing to the attorneys of record listed herein and I
hereby certify that I have mailed by US Postal Service the document to the involved non-ECF participants, if any.

                                             s/Brian J. Richtarcik
                                             Foley, Baron, Metzger & Juip, PLLC
                                             Attorneys for Defendant,
                                             Badawi Abdellatif, M.D., only
                                             38777 Six Mile Rd., Ste. 300
                                             Livonia, MI 48152
                                             brichtarcik@fbmjlaw.com
                                             P49390




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